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AO 450 (Rev. 01/09) Judgment in a Civil Action

                                                                                                                 1
                                      UNITED STATES DISTRICT COURT
                                                                     for the                                 JAN     1   8 2019
                                                            Western District of Texas
                                                                                                        CLERK, U.S. DISTRICT
                                                                                                       WESTERN DISTRICT OF        S
                                                                                                        BY____________________
                      Mary R. Reynolds                                  )
                           Plaint(ff                                    )
                              v.                                        )      Civil Action No. SA-18-CV-099-XR
                       Medicredit, Inc.                                 )
                            Defendant                                   )

                                                        JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one).

   the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                               the amount of
                                                                            dollars ($             ), which includes  prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of            %, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                    recover costs from the plaintiff (name)


    other:     Court grants Defendant's Motion for Summary Judgment, The Clerk is Ordered to enter this Judgment in
               favor of the Defendant and Dismiss this case with Prejudice. This case is hereby CLOSED.



This action was (check one):

   tried by a jury with Judge                                                                       presiding, and the jury has
rendered a verdict.
   tried by Judge                                                                        without a jury and the above decision
was reached.
91 decided by Judge Xavier Rod                   uez.




Date:           01/18/2019                                                     CLERK OF COURT



                                                                                                 of Clerk or Deputy Clerk
